
Appeal No. 19829 from Judgment dated September 17, 1993, Robert L. Lancaster, Ruling Judge, Oktibbeha County Chancery Court.
William E. Whitfield, III, Bryant Clark Dukes Blakeslee Ramsay &amp; Hammond, Gulf-port, for Appellant.
William H. Ward, Gholson Hicks Nichols &amp; Ward, Starkville, for Appellees.
Before FRAISER, C.J., and DIAZ and PAYNE, JJ.
Affirmed.
BRIDGES and THOMAS, P.JJ., and BARBER, COLEMAN, KING, McMILLIN and SOUTHWICK, JJ., concur.
